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MINUTE ENTRY                                                 JS10(01:00)
LEMELLE, J.
OCTOBER 13, 2020

                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

ETDO PRODUCTIONS, LLC                                       CIVIL ACTION

VERSUS                                                      NO. 19-13184

ALFREDO CRUZ, ET AL                                         SECTION “B”(3)

      A pretrial conference was held today to discuss an opposed

pretrial order submission and issues for the upcoming trial by

video. Attorney Jessica Vasquez was present for Plaintiff ETDO

Productions, LLC and Counter-Defendants Francois Camenzulli and

Attorneys Jerry Lenaz, and Thomas Keaty, II and Steven Hannah were

present     for   Defendants    and   Counter-Plaintiffs     Alfredo   Cruz,

Michelle Rossi, Michelle Hudak, Marisa Naquin, Sonya Bourgeois,

Lisette Bayle, Renee Pastor, and Disco Amigos Social Aid and

Pleasure Club. The bench trial by video will proceed on Monday,

October 26, 2020 at 9:00 a.m. and is expected to last 4 days but

may   be   reduced   to   2   days,   pending   this   Court’s   decision   to

bifurcate the issues of ownership, lack of use, and damages.

Accordingly,

      IT WAS ORDERED that:

      1. No later than Thursday, October 15, 2020, parties shall

           submit their final proposed pretrial order. Each party must

           limit their statement of material facts to no longer than


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   3 pages for each side. Failure to abide by this Order may

   lead to sanctions against both parties in view of parties’

   failure on two attempts to confect a pretrial order that’s

   compliant with the standing court instructions;

2. The    defendants’      pending        “Motion    in    Limine   to Preclude

   Certain Evidence and Testimony” (Rec. Doc. 78) and “Ex

   Parte Motion for Leave to File Motion in Limine Out of

   Time, Motion to Expedite Ruling on the Motion in Limine”

   (Rec.     Doc.     87)       are       DENIED    WITHOUT       PREJUDICE    to

   reconsideration at trial;

3. No later than Monday, October 19, 2020, parties shall

   jointly    file       all    written     stipulations        consistent    with

   today’s conference;

4. No later than Monday, October 19, 2020, parties shall file

   any redacted deposition testimony and expert reports that

   are submitted pursuant to joint agreement of all parties

   in lieu of live testimony. Will-call witnesses expected

   for live testimony by video must be subpoenaed and prepared

   by parties to connect by video when called and sequestered

   from    other    witnesses.        Counsel      shall   be    responsible to

   assist    in    all    the    foregoing,        including     reporting    any

   suspected violations. The subpoenas that have been served

   to any witness prior to trial shall be deemed ongoing for

   the remainder of trial and future trial dates without need

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   of    reissuance,       pending     this     Court’s     decision        on

   bifurcation;

5. No later than Monday, October 19, 2020, parties’ counsel

   shall provide the Court with an electronic copy of all

   numbered exhibits to be introduced at trial as well as an

   index for the exhibits. The exhibits shall be sent to the

   Court’s email address, efile-Lemelle@laed.uscourts.gov, in

   portable document format (“PDF”), or, if the PDF is too

   large, the exhibits should be saved on a USB thumb or flash

   drive and mailed to the Court in sufficient time to be

   received by that date. Those exhibits should be numbered

   sequentially with a single numbering system (not Plaintiff

   Exhibit #1, etc., and Defendant Exhibit #2, etc.). Exhibits

   to which there are no objections shall be listed first on

   an exhibit index and should appear first in the PDF copy

   of the exhibits sent to the Court. Exhibits to which there

   are objections shall be listed next in the index and placed

   next in the PDF copy of exhibits sent to the Court. The

   basis   for   objections     should    be    briefly     stated    in    a

   footnote.     Counsel     shall   consult     and   confer    on        the

   preparation    of   the   exhibit     list   with   an    emphasis      on

   narrowing the exhibits. Counsel shall further confer to

   ensure that witnesses have access to the exhibits during




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       the   trial.    Demonstrative     exhibits,   if   any,   must    be

       exchanged between counsel by the foregoing date;

     6. No later than Monday, October 19, 2020, proposed findings

       of fact and conclusions of law may be e-filed to the Court;

     7. Opening statements are unnecessary unless otherwise urged

       by either party at beginning of the trial. In such a case,

       each side will be allowed 5 minutes for opening statements.

       The Court shall decide upon a later time how much time

       shall be reserved for closing statements, e.g. possibly 20

       minutes per side;

     No later than Monday, October 19, 2020, the Judicial Assistant

to the undersigned will email lead counsel with video connection

instructions and related information. Lead counsel shall notify

their clients and witnesses with the latter instructions, assuring

also that everyone will be prepared to connect into the video trial

only when called upon to do        so.    Violations of the Rule of

Sequestration may lead to sanctions.




                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE




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